Case 2:14-cv-02600-STA-dkv Document 14 Filed 12/19/14 Page 1 of 2                    PageID 64



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


HERBERT BRENT,               )
                             )
       Plaintiff             )
                             )
v.                           )
                             )
HYUNDAI CAPITAL AMERICA,     )
HYUNDAI MOTOR COMPANY, INC., )                              No. 14-2600-STA-dkv
d/b/a THORNTON ROAD HYUNDAI, )
SAMANTHA BRENT,              )
KEN FLANNAGAN, JOHN DOE,     )
JOHN DOE 2, GEICO INSURANCE, )
and JOHN DOE 3               )
                             )
       Defendants.           )


 ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       Before the Court is the United States Magistrate Judge’s Report and Recommendation

that Plaintiff Herbert Brent’s Pro Se Complaint be dismissed sua sponte under 28 U.S.C. §

1915(e)(2). Objections to the Report and Recommendations were due within 14 days after the

entry of the Report, making the objections due on or before October 17, 2014. Plaintiff filed a

Reply to the Report on October 29, 2014, but in his Reply, Plaintiff does not object the

Magistrate Judge’s recommendation of dismissal.

       The Magistrate screened the in forma pauperis complaint under 28 U.S.C. § 1915(e)(2)

and recommended dismissal of the action for improper venue. Having discussed not only the

specific RICO venue statute but also the general venue provisions found at 28 U.S.C. § 1391, the

Magistrate recommended dismissal without prejudice. In his Reply to the Magistrate Judge’s

Report, Plaintiff “agree[d] to dismissal without prejudice to refile in the proper district court”

                                                1
Case 2:14-cv-02600-STA-dkv Document 14 Filed 12/19/14 Page 2 of 2                      PageID 65



and prayed that this Court “[d]ismiss the case without prejudice.” (Pl.’s Reply 3–4, ECF No.

13).

       Having reviewed the Magistrate Judge’s Report and Recommendation de novo, the Court

hereby ADOPTS the Report.          Plaintiff’s Pro Se Complaint is DISMISSED WITHOUT

PREJUDICE.

       Furthermore, in his Reply, the Plaintiff noted that while he may still be able to monitor

the mail at his address of record, he no longer resides there. He states that his current address is

Alpha Omega Veterans Services Dormitory, 1183 Madison Avenue, Memphis, TN 38104.

Therefore, the Clerk of Court is directed to mail this Order to both Plaintiff’s address of record

and the addressed listed herein. The Plaintiff should note that if he wishes to receive current

filings in this matter going forward, he should properly notify the Clerk of Court of his change of

address.

       IT IS SO ORDERED.


                                                     s/ S. Thomas Anderson
                                                     S. THOMAS ANDERSON
                                                     UNITED STATES DISTRICT JUDGE

                                                     Date: December 19, 2014.




                                                 2
